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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  GUSTAVO GONZALEZ and WILLIAM KANE,                          Case No.    2:24-cv-08894-NJC
  individually and on behalf of all others similarly
  situated                                                    DECLARATION IN RESPONSE
                                                              TO ORDER TO SHOW CAUSE
                 Plaintiffs,
  v.

  800-FLOWERS, INC., D/B/A 1-800-
  FLOWERS.COM, HARRY & DAVID,
  PERSONALIZATION MALL, SHARI’S
  BERRIES, 1-800-BASKETS.COM, SIMPLY
  CHOCOLATE, FRUIT BOUQUETS.COM,
  CHERYL’S COOKIES, THE POPCORN
  FACTORY, WOLFERMAN’S BAKERY, and
  VITAL CHOICE,

                 Defendant.

        I, Elliot Jackson, declare under penalty of perjury, pursuant to 28 U.S.C. §1746 and based

 on my own personal knowledge, that the following statements are true:

        1.     I am an attorney at Hedin LLP and participated in the investigation of the above-

 captioned case. I am a member in good standing of the New York and Florida bars.

        2.     I submit this declaration in response to the Order to Show Cause (January 3, 2025)

 wherein the Court sua sponte required the submission of a declaration from counsel to establish

 the Court’s subject matter jurisdiction under the Class Action Fairness Act (“CAFA”), 28 U.S.C.

 1332(d).

        3.     The sua sponte order to show cause raised three issues related to the Court’s

 CAFA jurisdiction: (1) the complaint’s numerosity allegations; (2) the $5,000,000 amount in

 controversy threshold; and (3) CAFA’s minimal diversity requirement.
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           4.      Plaintiffs have elected to file a First Amended Complaint, which filing Defendant

 does not oppose. See Fed. R. Civ. P. 15(a)(2). The forthcoming First Amended Complaint

 includes additional allegations directed at each of these.

           5.      With respect to numerosity, the proposed First Amended Complaint alleges that

 there are “hundreds of thousands” of class members nationwide. This allegation is based, in part,

 on information obtained by counsel through their representation of a preliminarily approved

 settlement class in Anayancy Paiz, et. al. v. 800-Flowers, Inc., 2:23-cv-07441-AB-PVC.1 Paiz

 includes materially similar allegations concerning the Defendant’s same Celebrations Passport

 product, and alleges Defendant identically violated California’s Autorenewal Law, Cal. Bus. &

 Prof. Code § 17600, et seq. – which has the same substantive requirements as the New York

 Automatic Renewal Law at issue here. The Paiz court has preliminarily approved a settlement

 class defined as

                “All Persons who purchased Celebrations Passport in California on or after
                September 7, 2019, through May 31, 2022, and who incurred at least one
                automatic renewal charge for Celebrations Passport that was not fully
                refunded.” Paiz, ECF No. 58 at 2.

           The Defendant’s records in that case confirmed there were approximately 112,000

     members of the settlement class in the Paiz case. ECF No. 55-1 at 2. Based on the fact that the

     Paiz case is limited to California consumers, there are likely close to one-million members in the

     nationwide class proposed in the proposed FAC. 2

           6.       With respect to CAFA’s requirement that the amount-in-controversy exceed

 $5,000,000, the damages easily exceed $5,000,000. Under the New York ARL “In any case in

 1         The final approval and fairness hearing in the Paiz case is set for January 31, 2025.
 2      The population of the State of California in 2024 is 39.4 million, which accounts for 11.5%
 of the population of the United States. See https://www.census.gov/popclock (last accessed
 January 15, 2025).


                                                    2
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 which a business sends any goods, wares, merchandise, or products to a consumer, under a

 continuous service agreement or automatic renewal of a purchase, without first obtaining the

 consumer’s affirmative consent, the goods, wares, merchandise, or products shall for all purposes

 be deemed an unconditional gift to the consumer[.]” N.Y. Gen. Bus. Law § 527-a(6). Thus, for

 the purposes of assessing CAFA jurisdiction the amount at issue per Plaintiff and per class

 members is $29.99, or more, the amount each Plaintiff paid for the Celebrations Passport in an

 annual autorenewal fee assessed without their consent. The Court’s Order to Show cause framed

 damages as $10 per class member – the difference between the $19.99 price advertised and the

 price of annual renewal. However, the proposed FAC makes clear that, under the statute,

 Plaintiffs and the class members are entitled to recoup the entire value of monies automatically

 charged without their consent, which is at least $29.99 in every case.         Assuming there are

 approximately 970,000 class members (based on the number of members of the California-only

 Paiz Settlement Class), the amount of the aggregate claims at issue exceeds $29,000,000.

        7.      Finally, the proposed FAC shows that CAFA’s minimal diversity requirement is

 satisfied. Plaintiffs Gonzalez and Kane are citizens of New York and Tennessee, respectively.

 The proposed FAC alleges citizenship rather than residency and includes allegations that each

 Plaintiff has continually lived in, worked in, paid taxes in, voted in, and undertaken essential life

 services (healthcare, banking, driver’s license, car registration, and the like) in New York and

 Tennessee respectively.


 I declare, under penalty of perjury, pursuant to the laws of the United States of America that the

 foregoing is true and correct.

        Executed this 17th day of January 2025, in Miami, Florida.

                                                                         /s/ Elliot O. Jackson
                                                                         Elliot O. Jackson




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